     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 1 of 39 Page ID #:318



1     Jerry L. Steering (SBN 122509)
2     LAW OFFICE OF JERRY STEERING
      4063 Birch Street, Suite 100
3
      Newport Beach, California 92660
4     (949) 474-1849
      (949) 474-1883 Fax
5
      jerrysteering@yahoo.com
6

7
      Attorney for Plaintiffs Tamra K. Russo, individually and as guardian ad litem for
      minor children K.S. and A.S., Sirikul Sawadikul and Brian Terrence Russo
8
                               UNITED STATES DISTRICT COURT
9

10                           CENTRAL DISTRICT OF CALIFORNIA
11
      TAMRA K. RUSSO, individually and as Case No.: 5:17-CV-02429-PA-SP
12    guardian ad litem for minor children K.S.
13    and A.S., successors in interest to Michael
      David Russo, SIRIKUL SAWASDIKUL, FIRST AMENDED COMPLAINT
14
      and BRIAN TERRENCE RUSSO,                   FOR DAMAGES FOR VIOLATION
15                                                OF FEDERAL CONSTITUTIONAL
          Plaintiffs,                             RIGHTS UNDER COLOR OF STATE
16
          vs.                                     LAW (42 U.S.C. § 1983) CLAIM FOR
17                                                USE OF UNREASONABLE FORCE
18    COUNTY OF SAN BERNARDINO,                   UPON PERSON (U.S. CONST.
                                                           1
      STEPHEN SULLIVANT and DOES 1 AMEND 4) , CLAIM FOR
19                                                UNREASONABLE SEIZURE OF
      through 10, INCLUSIVE,
20                                                PERSON (U.S. CONST. AMEND 4 2);
          Defendants.                             CLAIM FOR INTERFERENCE /
21
                                                  DEPRIVATION OF PARENT -
22                                                CHILD RELATIONSHIP (U.S.
                                                  CONST. AMEND 14); CLAIM FOR
23
                                                  DEPRIVATION OF LIFE (U.S.
24                                                CONST. AMEND 14) AND
25
                                                  CALIFORNIA STATE LAW CLAIMS
26

27
      1
28        Via Cal. Civ. Proc. Code § 377.30.
      2
          Via Cal. Civ. Proc. Code § 377.30.
                             FIRST AMENDED COMPLAINT FOR DAMAGES
                                              1
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 2 of 39 Page ID #:319



1                                                  FOR WRONGFUL DEATH (CAL.
2                                                  CIV. PROC. CODE § 377.60, VIA §
                                                   377.30); VIOLATION OF BANE ACT
3
                                                   (CAL. CIV. CODE § 52.1);
4                                                  BATTERY, ASSAULT, FALSE
                                                   ARREST / FALSE IMPRISONMENT,
5
                                                   NEGLIGENCE
6

7
                                                   JURY TRIAL DEMANDED

8           COME NOW plaintiffs TAMRA K. RUSSO, individually and as guardian
9
      ad litem for minor children K.S and A.S., successors in interest to Michael David
10

11    Russo, SIRIKUL SAWADIKUL, and BRIAN TERRENCE RUSSO and shows
12
      this Honorable Court the following:
13

14                          JURISDICTIONAL ALLEGATIONS
15

16
            1.     As this action is brought under 42 U.S.C. § 1983, this court has

17    jurisdiction over this case under its federal question jurisdiction pursuant to 28
18
      U.S.C. § 1331.
19

20          2.     As the incidents complained of in this action occurred in the County
21
      of San Bernardino, State of California, within the territorial jurisdiction of this
22

23
      court, venue properly lies in this court pursuant to 28 U.S.C. § 1391(b)(2).

24          3.     As plaintiffs’ claims brought under California state law arise out of
25
      the same transactions and occurrences and out of a common nucleus of operative
26

27    facts as the plaintiffs’ federal questions claims, this court has jurisdiction over the
28
      plaintiffs’ California state law claims under its Supplemental Jurisdiction pursuant

                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                          2
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 3 of 39 Page ID #:320



1     to 28 U.S.C. § 1367 and otherwise pursuant to United Mine Workers of America v.
2
      Gibbs, 383 U.S. 715 (1966).
3

4            4.     Plaintiff Tamra K. Russo, individually and as guardian ad litem for
5
      minor children K.S. and A.S., successors in interest to plaintiffs’ decedent
6

7
      Michael Russo, timely filed her Claim For Damages against the County of San

8     Bernardino on June 5, 2017, pursuant to the California Tort Claims Act, Cal.
9
      Gov’t. Code § 900 et seq., and said claim has been denied by defendant County of
10

11    San Bernardino on or about June 7, 2017, less than six months prior to the filing
12
      of this instant action.
13

14                               GENERAL ALLEGATIONS
15
             5.     Plaintiff Tamra K. Russo, hereinafter referred to as “TAMRA
16

17    RUSSO” and/or “plaintiff” and/or “Tamra Russo” is a natural person, who, at all
18
      times complained of in this action, resided in the State of California. Plaintiff
19
      Tamra Russo was the legal and natural mother of plaintiffs’ decedent, Michael
20

21    David Russo. Plaintiff Tamra Russo is also the grandmother, legal guardian and
22
      the guardian ad litem for plaintiff minor children K.S. and A.S., successors in
23

24    interest to plaintiffs’ decedent, Michael David Russo.
25
             6.     Plaintiff minor child, K.S., date of birth of date of birth of February
26
      1, 2007, hereinafter referred to as “K.S.,” is a natural person, who, at all times
27

28    complained of in this action, resided in the State of California. At all times

                          FIRST AMENDED COMPLAINT FOR DAMAGES
                                           3
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 4 of 39 Page ID #:321



1     complained of herein, K.S. was the legal and natural daughter of her late father,
2
      plaintiffs’ decedent, Michael David Russo at the time of his death on February 1,
3

4     2017. Therefore, plaintiff minor child K.S. is Michael David Russo’s successor in
5
      interest in this action pursuant to Cal. Civ. Proc. Code § 337.30.
6

7
            7.     Plaintiff minor child A.S., date of birth September 10, 2004,

8     hereinafter referred to as “A.S.,” is a natural person, who, at all times complained
9
      of in this action, resided in the State of California. At all times complained of
10

11    herein, A.S. was the legal and natural daughter of her late father, plaintiffs’
12
      decedent, Michael David Russo, at the time of his death on February 1, 2017.
13

14
      Therefore, plaintiff minor child A.S. is Michael David Russo’s successor in

15    interest in this action pursuant to Cal. Civ. Proc. Code § 337.30.
16
            8.     Plaintiff Sirikul Sawasdikul, hereinafter referred to as
17

18    “SAWASDIKUL” and/or “plaintiff” “SIRIKUL SAWASDIKUL” and/or “Sirikul
19
      Sawasdikul” is a natural person, who, at all times complained of in this action,
20

21
      resided in the State of California.

22          9.     Plaintiff Brian Terrence Russo, hereinafter referred to as “BRIAN
23
      RUSSO” and/or “plaintiff” and/or “Brian Russo” is a natural person, who, at all
24

25    times complained of in this action, resided in the State of California. Plaintiff
26
      Brian Russo was the legal and natural father of plaintiffs’ decedent, Michael
27

28
      David Russo.


                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                          4
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 5 of 39 Page ID #:322



1           10.     Plaintiffs’ decedent, Michael David Russo, died intestate on February
2
      1, 2017 at St. Bernardine Medical Center in San Bernardino, California, and at all
3

4     times complained of was a resident of the County of San Bernardino and State of
5
      California.
6

7
            11.     Defendant County of San Bernardino, hereinafter also referred to as

8     “County of San Bernardino” or “COUNTY”, is a political subdivision of the State
9
      of California and is a municipal entity, located within the territorial jurisdiction of
10

11    this Honorable Court.
12
            12.     Defendant Stephen Sullivant (hereinafter referred to as
13

14
      (“SULLIVANT”) is a sworn deputy with the San Bernardino County Sheriff’s

15    Department, who, at all times complained of in this action was acting as an
16
      individual person under the color of state law, and was acting in the course of and
17

18    within the scope of his employment with the County of San Bernardino. Plaintiff
19
      were ignorant of the identity of SULLIVANT at the time of the filing of the
20

21
      original Complaint for Damages in this action.

22          13.     Defendants DOES 2 through 4, inclusive, are sworn peace officers
23
      and/or deputy sheriffs and/or supervisors and/or investigators and/ Special
24

25    Officers and/or a dispatchers and/or some other public officer, public official or
26
      employee of defendant County of San Bernardino, who in some way committed
27

28
      some or all of the tortious actions (and constitutional violations) complained of in


                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                          5
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 6 of 39 Page ID #:323



1     this action, and/or are otherwise responsible for and liable to plaintiffs for the acts
2
      complained of in this action, whose identities are, and remain unknown to
3

4     plaintiff, who will amend his complaint to add and to show the actual names of
5
      said DOE defendants when ascertained by plaintiff.
6

7
            14.    At all times complained of herein, DOES 2 through 4, inclusive, were

8     acting as individual persons acting under the color of state law, pursuant to their
9
      authority as sworn peace officers and/or deputy sheriffs and/or Special Officers
10

11    and/or Supervisors (i.e. Sergeants, Lieutenants, Captains, Commanders, etc.)
12
      and/or dispatchers, employed by defendant County of San Bernardino, and were
13

14
      acting in the course of and within the scope of their employment with defendant

15    County of San Bernardino.
16
            15.    Defendants DOES 5 and 6 were private and individual persons acting
17

18    under the color of state law and were employees, agents, officers or some person
19
      otherwise affiliated with the San Manuel Casino.
20

21
            16.    Defendants DOES 5 and 6 are in some substantial way liable and

22    responsible for, or otherwise proximately caused and/or contributed to the
23
      occurrences complained of by plaintiff in this action.
24

25          17.    Plaintiffs will amend their complaint to show the true identities of
26
      DOES 5 and 6 when they become aware of the same.
27

28
            18.    Defendants DOES 7 through 10, inclusive, are sworn peace officers


                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                          6
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 7 of 39 Page ID #:324



1     and/or Supervisors and/or Commanders and/or Captains and/or Lieutenants and/or
2
      Sergeants and/or Detectives and/or other Supervisory personnel (such as) and/or
3

4     policy making and/or final policy making officials, employed by the County of
5
      San Bernardino, who are in some substantial way liable and responsible for, or
6

7
      otherwise proximately caused and/or contributed to the occurrences complained of

8     by plaintiffs in this action, such as via supervisory liability (i.e. failure to properly
9
      supervise, improperly directing subordinate officers, approving actions of
10

11    subordinate officers), via bystander liability (failing to intervene in and stop
12
      unlawful actions of their subordinates and/or other officers), and such as by
13

14
      creating and/or causing the creation of and/or contributing to the creation of the

15    policies and/or practices and/or customs and/or usages of the County of San
16
      Bernardino for: 1) for wrongfully killing persons; 2) for using excessive /
17

18    unreasonable force on persons; 3) for unlawfully seizing persons; 4) for unlawful
19
      searching and seizing persons and their personalty / property; 5) for falsely
20

21
      arresting and falsely imprisoning persons; 6) for fabricating / destroying /

22    concealing / altering / withholding evidence in criminal and civil actions, and for
23
      otherwise “framing” persons in criminal actions, in order to falsely and
24

25    maliciously, oppressively convict innocent persons, to protect them and other
26
      deputy sheriffs and supervisory personnel from civil, administrative and criminal
27

28
      liability; 7) for interfering with persons’ and/or otherwise violating persons’


                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                          7
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 8 of 39 Page ID #:325



1     constitutionally protected right to free speech; 8) for covering-up unlawful and
2
      tortious conduct by County of San Bernardino personnel, and were a proximate
3

4     cause of the very same California state law, and federal and state constitutional
5
      violations complained above, and complained of by the plaintiff in this action.
6

7
            19.    Plaintiff is presently unaware of the identities of DOES 2 through 10,

8     inclusive, and will amend his complaint to add and to show the actual names of
9
      said DOE defendants, when ascertained by plaintiff.
10

11          20.    At all times complained of herein, DOES 7 through 10, inclusive,
12
      were acting were acting as individual persons acting under the color of state law,
13

14
      pursuant to their authority as Deputy Sheriffs and/or Supervisory Officers,

15    Commanders and/or Captains and/or Lieutenants and/or Sergeants and/or other
16
      Supervisory personnel and/or policy making and/or final policy making officials,
17

18    employed by the County of San Bernardino, and/or some other public official(s)
19
      with County of San Bernardino, and were acting in the course of and within the
20

21
      scope of their employment with defendant County of San Bernardino.

22          21.    At all times complained of herein, defendants DOES 7 through 10,
23
      inclusive, were acting as individual persons under the color of state law; under and
24

25    pursuant to their status and authority as peace officers and/or Supervisory peace
26
      officers (as described herein, above and below), and/or policy making peace
27

28
      officers, with defendant County of San Bernardino.


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         8
     Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 9 of 39 Page ID #:326



1            22.    Moreover, at all times complained of herein, defendants DOES 2
2
      through 4 and 7 through 10, inclusive, were acting pursuant to, or otherwise
3

4     contributed to the creation and maintenance of, the customs, policies, usages and
5
      practices of the County of San Bernardino, for, inter alia: : 1) for wrongfully
6

7
      killing persons; 2) for using excessive / unreasonable force on persons; 3) for

8     unlawfully seizing persons; 4) for unlawful searching and seizing persons and
9
      their personalty / property; 5) for falsely arresting and falsely imprisoning
10

11    persons; 6) for fabricating / destroying / concealing / altering / withholding
12
      evidence in criminal and civil actions, and for otherwise “framing” persons in
13

14
      criminal actions, in order to falsely and maliciously, oppressively convict innocent

15    persons, to protect them and other deputy sheriffs and supervisory personnel from
16
      civil, administrative and criminal liability; 7) for interfering with persons’ and/or
17

18    otherwise violating persons’ constitutionally protected right to free speech; 8) for
19
      covering-up unlawful and tortious conduct by County of San Bernardino
20

21
      personnel, and were a proximate cause of the very same California state law, and

22    federal and state constitutional violations complained above, and complained of
23
      by the plaintiff in this action.
24

25           23.    In addition to the above and foregoing, defendants DOES 1 through
26
      6, inclusive, acted pursuant to a conspiracy, agreement and understanding and
27

28
      common plan and scheme to deprive the plaintiffs TAMRA RUSSO, K.S., A.S.,


                          FIRST AMENDED COMPLAINT FOR DAMAGES
                                           9
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 10 of 39 Page ID #:327



1    SAWASDIKUL and BRIAN RUSSO of their federal Constitutional and statutory
2
     rights, as complained of in this action, and acted in joint and concerted action to
3

4    so deprive plaintiffs TAMRA RUSSO, K.S., A.S., SAWASDIKUL and BRIAN
5
     RUSSO of those rights as complained of herein; all in violation of 42 U.S.C. §
6

7
     1983, and otherwise in violation of United States (Constitutional and statutory)

8    law.
9
            24.   Said conspiracy / agreement / understanding / plan / scheme / joint
10

11   action / concerted action, above-referenced, was a proximate cause of the
12
     violation of the plaintiffs TAMRA RUSSO, K.S., A.S., SAWASDIKUL and
13

14
     BRIAN RUSSO federal and state constitutional and statutory rights, as

15   complained of herein.
16
                             FIRST CAUSE OF ACTION
17
             USE OF UNREASONABLE FORCE ON PERSON UNDER
18                            FOURTH AMENDMENT
                                   [42 U.S.C. § 1983]
19
                        (FEDERAL SURVIVALSHIP CLAIM
20                     VIA CAL. CIV. PROC. CODE § 377.30)
21
      (By Plaintiff TAMRA RUSSO, as Guardian Ad Litem for Minor Plaintiffs
       K.S. and A.S., Successors in Interest to Michael David Russo, Against All
22                                    Defendants)
23
            25.   Plaintiffs hereby reallege and incorporate by reference the allegations
24

25   set forth in paragraphs 1 through 24, inclusive, above, as if set forth in full herein.
26
            26.   The day prior to the subject incident, on January 31, 2017, plaintiffs’
27

28
     decedent, Michael David Russo, (Date of Birth July 19, 1985), purchased an


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         10
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 11 of 39 Page ID #:328



1    automobile for $300.00 from person(s) unknown to plaintiffs.
2
           27.    Unbeknownst to plaintiffs’ decedent, Michael David Russo, and his
3

4    then girlfriend, plaintiff SIRIKUL SAWASDIKUL, said vehicle was apparently
5
     stolen.
6

7
           28.    The California DMV paperwork showing the purchase of the vehicle

8    was in the possession of plaintiff SIRIKUL SAWASDIKUL in her purse at the
9
     time of the subject incident, and said documents were taken into possession by
10

11   said DOE defendants and/or LOPEZ and/or SULLIVANT.
12
           29.    The following evening, on February 1, 2017, plaintiffs’ decedent,
13

14
     Michael David Russo and plaintiff SIRIKUL SAWASDIKUL, went to the San

15   Manuel Casino, located at 777 San Manuel Blvd. in Highland California, parked
16
     their car on the 4th level of the casino parking structure, and went inside the casino
17

18   to gamble.
19
           30.    There was a license plate reader in the parking structure of the casino
20

21
     and that license plate reader detected the presence of the stolen car that Michel

22   Russo had been driving and had parked at the casino.
23
           31.    The license plate reader summoned the San Bernardino County
24

25   Sheriff’s Department to the presence of that stolen vehicle at the casino.
26
           32.    Several San Bernardino County Sheriff’s Department deputy
27

28
     sheriff’s arrived at the casino, including defendant SULLIVANT and DOES 2


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         11
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 12 of 39 Page ID #:329



1    through 7, inclusive, and located and identified the stolen car that plaintiffs’
2
     decedent, Michael Russo, was driving that evening.
3

4            33.     Defendant San Bernardino County Sheriff’s Department deputy
5
     sheriff SULLIVANT and DOES 2 through 7, inclusive, staked-out the subject
6

7
     stolen car and agreed that it would be dangerous to them, to the public and to all

8    involved, including Michael Russo and his girlfriend, plaintiff Sirikul Sawasdikul
9
     (“SAWASDIKUL”).
10

11           34.     Said defendants also agreed that it would be safer to arrest Michael
12
     Russo when he was outside of his car so as not to be involved in an auto pursuit.
13

14
             35.     In addition, defendants SULLIVANT and DOES 3 through 6,

15   inclusive, also set a “rat-trap” for the unoccupied vehicle in the casino parking
16
     structure and had checked to see that the “rat trap”3 was properly positioned to
17

18   puncture the tire of the subject vehicle that Michael Russo was ultimately shot to
19
     death inside of.
20

21
             36.     Also, SULLIVANT, LOPEZ and DOES 3 through 6, inclusive, had

22   agreed that the best course of action for them to take was for SULLIVANT to stop
23
     and arrest Michael Russo in the parking garage where the subject car was parked,
24

25

26

27

28   3
       A “rat trap” is like a “spike strip” with only a single or several nail like projections that is used
     to puncture the tire of a vehicle to stop the vehicle from being able to be driven due to flat tires.
                            FIRST AMENDED COMPLAINT FOR DAMAGES
                                             12
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 13 of 39 Page ID #:330



1    before Michael Russo got into his car, so as to avoid having to go on an
2
     automobile pursuit with Michael Russo as such an automobile pursuit would
3

4    increase the danger to the public and the parties / participants.
5
            37.     Notwithstanding that agreement and understanding, SULLIVANT
6

7
     and DOES 2 through 7, inclusive, received word over his/their police radios4 that

8    Michael Russo5 and SAWASDIKUL were spotted approaching the stolen car.
9
            38.     Rather than stopping Michael Russo before he reached and got into
10

11   the stolen car, SULLIVANT approached the stolen car and accosted Michael
12
     Russo by opening the door of the stolen car after Michael Russo had already
13

14
     entered and sat down in the car and had already started the engine of the same.

15          39. SULLIVANT opened the door of the already started stolen car as
16
     SAWASDIKUL sat in the passenger seat and as Michael Russo sat in the driver’s
17

18   seat with the car running.
19
            40.     Rather than identify himself as a police officer or deputy sheriff and
20

21
     telling Michael Russo to “stop” or “turn the car off” or “freeze” or to “put his

22   hands up”, SULLIVANT opened the door of the car, pointed his pistol right in
23
     Michael Russo’s face and yelled out: “Hands, hands, hands, let me see your
24

25

26

27
     4
      And/or other communication devices.
     5
28    Not then identified at that time by name but as the white male adult suspected driver of the
     suspected stolen car.
                          FIRST AMENDED COMPLAINT FOR DAMAGES
                                           13
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 14 of 39 Page ID #:331



1    hands”, which were already on the steering wheel and the gear shifting
2
     mechanism.
3

4          41.     Michael Russo immediately became very scared and shifted the car
5
     into reverse and backed-up the car about one car length, until the car collided with
6

7
     the front of the Sheriff’s Department patrol vehicle that had moved into position

8    in back of the stolen car during SULLIVANT’S initial contact with Michael
9
     Russo, above-described.
10

11         42.     Although SULLIVANT was inside of the open door of the stolen car
12
     when Michael Russo backed the car up, he was not injured and was able to move
13

14
     back with the stolen car as it was backing-up.

15         43.     Following the stolen car colliding with the Sheriff’s Department
16
     patrol vehicle that had moved into position in back of the stolen car during
17

18   SULLIVANT’S initial contact with Michael Russo, Michael Russo, still terrified,
19
     placed the stolen car into drive and began to drive away from SULLIVANT and
20

21
     the Sheriff’s Department patrol vehicle that had moved into position in back of the

22   stolen car.
23
           44.     Although neither SULLIVANT nor anyone else was in any
24

25   immediate danger from the movements of the stolen car, SULLIVANT shot his
26
     pistol at Michael Russo, striking and penetrating his left side and torso.
27

28
           45.     The shooting of Michael Russo badly scared him even more, and


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         14
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 15 of 39 Page ID #:332



1    Michael Russo again attempted to drive the stolen car forward again, and
2
     SULLIVANT shot at Michael Russo; this time his bullet striking Michael Russo
3

4    and also striking plaintiff SAWASDIKUL in her leg; severely injuring her.
5
           46.    The shooting of Michael Russo was done recklessly, with disregard
6

7
     for the life of plaintiff SAWASDIKUL, with the intent to kill Michael Russo

8    under circumstances that did not justify killing him, and with reckless disregard
9
     for the safety of other motorists and pedestrians in the parking garage.
10

11         47.    After SULLIVANT shot Michael Russo the second time, Michael
12
     Russo continued to drive and thereafter quickly succumbed to the deadly bullets,
13

14
     that resulted in his death shortly thereafter.

15         48.    After said shooting, said vehicle was still moving. Plaintiff SIRIKUL
16
     SAWASDIKUL grabbed the brake in an attempt to prevent the car from crashing
17

18   into other cars, but was unsuccessful, and said vehicle struck other cars in the
19
     casino parking structure, bringing the vehicle to a stop.
20

21
           49.    Plaintiff SIRIKUL SAWASDIKUL began screaming for someone to

22   help her boyfriend. Defendant deputy sheriffs DOES 3 through 6 then reached
23
     inside the car and felt plaintiffs’ decedent Michael David Russo’s pulse, let go of
24

25   his hand and removed him from plaintiff SIRIKUL SAWASDIKUL.
26
           50.    At this point, plaintiff SIRIKUL SAWASDIKUL could not move her
27

28
     legs, and felt her legs were heavy. She felt numb and did not know she had been


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         15
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 16 of 39 Page ID #:333



1    shot in the leg.
2
            51.   Plaintiffs’ decedent, Michael David Russo, was then taken to St.
3

4    Bernardine Medical Center in San Bernardino, California, where he died from his
5
     injuries.
6

7
            52.   Plaintiff SIRIKUL SAWASDIKUL was then taken to Loma Linda

8    University Medical Center in Loma Linda, California where she was hospitalized,
9
     in police custody, from date of the subject incident, February 1, 2017, to her
10

11   discharge to a rehabilitation facility on March 3, 2017, where she remained for
12
     several months recovering from her gunshot wound(s).
13

14
            53.   Plaintiff SIRIKUL SAWASDIKUL underwent several surgeries

15   during her hospitalization for her gunshot wound and her other injuries that she
16
     sustained because of SULLIVANT’s shooting of Michael Russo.
17

18          54.   Said deadly shooting of Michael David Russo by defendant
19
     SULLIVANT also caused Michael David Russo to suffer severe physical injury,
20

21
     and severe mental, emotional and physical pre-death, distress, pain and suffering;

22   in an amount to be proven at trial, in excess of $3,000,000.00.
23
            55.   Said shooting of Michael David Russo by said DOE defendants,
24

25   above-referenced, was done by said defendant deputy sheriffs, without reasonable
26
     cause to believe that Michael Russo was either armed or dangerous, and without
27

28
     legal or moral justification for doing so.


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         16
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 17 of 39 Page ID #:334



1          56.    Accordingly, said shooting of Michael David Russo was done in
2
     violation of his right to be free from the use of unreasonable force upon his person
3

4    under the Fourth Amendment to the United States Constitution.
5
           57.    Said shooting of Michael David Russo by defendant SULLIVANT
6

7
     also caused plaintiffs’ decedent Michael David Russo to suffer substantial special

8    damages, including but not limited to, lost wages / profits and other income that
9
     plaintiffs’ decedent Michael David Russo would have earned / made / acquired
10

11   during his lifetime, the loss of Michael David Russo’s home and the other
12
     property of Michael David Russo, funeral and burial expenses, hospital and other
13

14
     medical expenses and costs, and other special damages; all in an amount to be

15   shown at trial, in excessive of $2,000,000.00.
16
           58.    Said deadly shooting of Michael David Russo by defendants
17

18   SULLIVANT, above-referenced, was done maliciously and in reckless disregard
19
     of Michael David Russo’s constitutional rights; sufficient for an award of punitive
20

21
     damages against said DOE defendants; in an amount to be shown at trial, in

22   excessive of $3,000,000.00.
23
                            SECOND CAUSE OF ACTION
24
              USE OF UNREASONABLE FORCE ON PERSON UNDER
25                FOURTH AND FOURTEENTH AMENDMENTS
                                 [42 U.S.C. § 1983]
26
            (By Plaintiff SIRIKUL SAWASDIKUL Against All Defendants)
27

28
           59.    Plaintiffs hereby reallege and incorporate by reference the allegations


                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                        17
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 18 of 39 Page ID #:335



1    set forth in paragraphs 1 through 58, inclusive, above, as if set forth in full herein.
2
           60.    As shown above, on February 1, 2017, plaintiff SIRIKUL
3

4    SAWASDIKUL was shot in the right leg by defendant SULLIVANT, with
5
     reckless disregard to her safety and without any legal or moral justification.
6

7
           61.    Also, as shown above, plaintiff SIRIKUL SAWASDIKUL suffered

8    severe injuries from gunshot wound(s) to her body and to her right leg from being
9
     shot by said defendant deputy sheriff DOE 1 and/or DOE 2.
10

11         62.    After being shot by defendant SULLIVANT, plaintiff SIRIKUL
12
     SAWASDIKUL was then taken to Loma Linda University Medical Center in
13

14
     Loma Linda, California where she was hospitalized from date of the subject

15   incident, February 1, 2017, to her discharge to a rehabilitation facility on March 3,
16
     2017, where she remained for several months. Plaintiff SAWASDIKUL
17

18   underwent several surgeries during her hospitalization.
19
           63.    Said shooting of plaintiff SAWASDIKUL by said DOE defendants,
20

21
     above-referenced, was done by said defendant deputy sheriffs, without reasonable

22   cause to believe that either Michael Russo or plaintiff SAWASDIKUL was either
23
     armed or dangerous, without facts that would have caused a reasonably well
24

25   trained peace officer to believe that shooting at Michael Russo was necessary to
26
     prevent serious bodily injury to himself or to others, was done without any legal
27

28
     or moral justification for doing so and was shocking to the conscience.


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         18
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 19 of 39 Page ID #:336



1          64.    Accordingly, said shooting of plaintiff SAWASDIKUL was done in
2
     violation of her right to be free from the use of unreasonable force upon her
3

4    person under the Fourth Amendment to the United States Constitution.
5
           65.    As a direct and proximate result of the actions of defendant
6

7
     SULLIVANT’s use of unlawful and unreasonable force upon plaintiff

8    SAWASDIKUL she: 1) was substantially physically, mentally and emotionally
9
     injured, and suffered great physical, mental and emotional injury, distress, pain
10

11   and suffering; 2) incurred medical and psychological costs, bills and expenses, 3)
12
     incurred attorney’s fees and associated litigation and other related costs, and 4)
13

14
     incurred the loss of business wages and profits, 5) incurred other special and

15   general damages and expenses, in an amount to be proven at trial, in excess of
16
     $10,000,000.00.
17

18         66.    The actions of defendant SULLIVANT were committed maliciously,
19
     oppressively and in reckless disregard of SAWASDIKUL’s constitutional rights,
20

21
     sufficient for an award of punitive / exemplary damages against said defendants,

22   in an amount to be proven at trial, in excess of $10,000,000.00.
23
                             THIRD CAUSE OF ACTION
24
                 UNREASONABLE SEIZURE OF PERSON UNDER
25                             FOURTH AMENDMENT
                                    [42 U.S.C. § 1983]
26
     (FEDERAL SURVIVALSHIP CLAIM [CAL. CIV. PROC. CODE § 377.30])
27     (By Plaintiff TAMRA RUSSO, as Guardian Ad Litem for Minor Plaintiffs
28
        K.S. and A.S., Successors in Interest to David Michael Russo, Against All
                                       Defendants)
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         19
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 20 of 39 Page ID #:337



1

2          67.    Plaintiffs hereby reallege and incorporate by reference the allegations
3
     set forth in paragraphs 1 through 66, inclusive, above, as though set forth in full
4
     herein.
5

6          68.    As shown above, plaintiffs K.S. and A.S. were the children and the
7
     heirs of their father, Michael David Russo, who died unmarried and intestate.
8

9          As shown above, plaintiff TAMRA RUSSO is Guardian ad litem for the
10
     minor children plaintiffs K.S. and A.S., successors in interest to plaintiffs’
11
     decedent Michael David Russo.
12

13         69.    As shown above, said DOE defendants, killed plaintiffs’ decedent
14
     Michael David Russo on February 1, 2017.
15

16         70.    Also as shown above, said defendants detained plaintiffs’ decedent
17
     Michael David Russo in the absence of reasonable neither suspicion of criminal
18
     conduct by him nor probable cause to have arrested him, and otherwise seized him
19

20   in an unreasonable manner by seizing him at gunpoint and shooting him.
21
           71.    Accordingly, the defendants’ seizure of was an unlawful and
22

23   unreasonable seizure of him under the Fourth Amendment to the United States
24
     Constitution.
25
           72.    Said unreasonable seizure of Michael David Russo by defendant
26

27   SULLIVANT and said DOE defendants, above-referenced, also caused plaintiffs’
28
     decedent Michael David Russo, to suffer substantial general damages such as
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         20
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 21 of 39 Page ID #:338



1    severe mental and emotional distress, pre-death pain and suffering, severe
2
     physical injuries, and special damages, including but not limited to, lost wages /
3

4    profits and other income that Michael David Russo would have earned / made /
5
     acquired during his lifetime, the loss of Michael David Russo’s home and other
6

7
     property of Michael David Russo, funeral and burial expenses, hospital and other

8    medical expenses and costs, and other special damages; all in an amount to be
9
     shown at trial, in excessive of $10,000,000.00.
10

11         73.     Said unreasonable seizure of Michael David Russo by defendant
12
     SULLIVANT said DOE defendants, above-referenced, was done maliciously and
13

14
     in reckless disregard of Michael David Russo’s constitutional rights; sufficient for

15   an award of punitive damages against defendant SULLIVANT said DOE
16
     defendants; in an amount to be shown at trial, in excessive of $10,000,000.00.
17

18                             FOURTH CAUSE OF ACTION
                    UNREASONABLE SEIZURE OF PERSON UNDER
19
                                  FOURTH AMENDMENT
20                                   [42 U.S.C. § 1983]
21
               (By Plaintiff SIRIKUL SAWASDIKUL Against All Defendants)

22

23         74.     Plaintiffs hereby reallege and incorporate by reference the allegations
24
     set forth in paragraphs 1 through 73, inclusive, above, as though set forth in full
25
     herein.
26

27         75.     As shown above, on February 1, 2017, plaintiff SIRIKUL
28
     SAWASDIKUL was shot in the right leg by defendant deputy sheriff DOE 1
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         21
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 22 of 39 Page ID #:339



1    and/or DOE 2.
2
            76.    Moreover, as shown above, plaintiff SIRIKUL SAWASDIKUL
3

4    suffered severe injuries from gunshot wound(s) to her right leg from being shot by
5
     defendant SULLIVANT.
6

7
            77.    When defendant deputy sheriff SULLIVANT shot plaintiff

8    SAWASDIKUL, those gunshots seized plaintiff SAWASDIKUL.
9
            78.    Said defendant deputy sheriffs had no probable cause to arrest
10

11   plaintiff SAWASDIKUL, nor any reasonable suspicion of criminality afoot of
12
     plaintiff nor any reason to believe that she was doing anything dangerous to
13

14
     others.

15          79.    When defendant deputy sheriff SULLIVANT shot plaintiff
16
     SAWASDIKUL, he did so to seize her and Michael Russo, without any facts
17

18   known to him that would have caused a reasonably competent peace officer to
19
     believe that shooting either Michael Russo or plaintiff SAWASDIKUL was
20

21
     necessary to protect others from suffering severe physical injuries.

22          80.    Said defendant deputy sheriffs had no probable cause to arrest
23
     plaintiff SIRIKUL SAWASDIKUL, nor any reasonable suspicion of criminality
24

25   afoot of plaintiff.
26
            81.    Accordingly, said detention/seizure of the plaintiff SAWASDIKUL
27

28
     and the shooting of her to seize her was done in violation of her right to be free


                           FIRST AMENDED COMPLAINT FOR DAMAGES
                                            22
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 23 of 39 Page ID #:340



1    from an unreasonable seizure of her person under the Fourth Amendment to the
2
     United States Constitution.
3

4          82.    Moreover, even if the defendant SULLIVANT and DOES 2 through
5
     7, inclusive, had a right to have seized SAWASDIKUL, they nonetheless had no
6

7
     legal or moral right to have shot her or to have shot at Michael Russo.

8          83.    Accordingly, the unlawful / unreasonable seizure of plaintiff
9
     SAWASDIKUL by defendant SULLIVANT and said DOE defendants,
10

11   constituted an unlawful and unreasonable seizure, without a warrant, without
12
     reasonable suspicion of criminality afoot by the plaintiff, and without probable
13

14
     cause to believe that the plaintiff had committed a crime; in violation of her right

15   to be free from such unlawful and unreasonable seizures of her person under the
16
     Fourth Amendment to the United States Constitution.
17

18         84.    As a direct and proximate result of the actions of defendant
19
     SULLIVANT and said defendant DOE deputy sheriff(s)’ use of unlawful and
20

21
     unreasonable force upon plaintiff , plaintiff SAWASDIKUL: 1) was substantially

22   physically, mentally and emotionally injured, and suffered great physical, mental
23
     and emotional injury, distress, pain and suffering; 2) incurred medical and
24

25   psychological costs, bills and expenses, 3) incurred attorney’s fees and associated
26
     litigation and other related costs, and 4) incurred the loss of business wages and
27

28
     profits, 5) incurred other special and general damages and expenses, in an amount


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         23
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 24 of 39 Page ID #:341



1    to be proven at trial, in excess of $10,000,000.00.
2
           85.    The actions of said defendants, and each of them, as complained of
3

4    herein, were committed maliciously, oppressively and in reckless disregard of
5
     SIRIKUL SAWASDIKUL’s constitutional rights, sufficient for an award of
6

7
     punitive / exemplary damages against said defendants, in an amount to be proven

8    at trial, in excess of $3,000,000.00.
9

10
                            FIFTH CAUSE OF ACTION
     LOSS OF PARENT- CHILD RELATIONSHIP WITHOUT DUE PROCESS
11
       OF THE LAW UNDER FOURTH AND FOURTEENTH AMENDMENT
12                                [42 U.S.C. § 1983]
      (By Plaintiff TAMRA RUSSO, individually and as Guardian Ad Litem for
13
     Minor Plaintiffs K.S. and A.S., Successors in Interest to Plaintiffs’ Decedent
14   Michael David Russo and by Brian Terrence Russo, Against All Defendants)
15

16         86.    Plaintiffs hereby reallege and incorporate by reference the allegations
17
     set forth in paragraphs 1 through 85, inclusive, above, as though set forth in full
18

19   herein.
20
           87.    The unlawful killing of plaintiffs’ decedent, Michael David Russo,
21

22
     by SULLIVANT and DOES 1 through 6, inclusive, was done by them with a

23   deliberate indifference and a reckless disregard of the plaintiffs’ child-parent /
24
     parent-child relationships, deprived the minor children plaintiffs K.S. and A.S. of
25

26   their Parent – Child Relationship with their father Michael David Russo, and
27
     deprived plaintiffs TAMRO RUSSO and BRIAN RUSSO, guaranteed to them
28


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         24
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 25 of 39 Page ID #:342



1    under the Fourteenth Amendment to the United States Constitution6.
2
           88.    The use of unreasonable force upon Michael David Russo that
3

4    resulted in the unlawful killing of him by SULLIVANT and DOES 1 through 6,
5
     inclusive, was done intentionally, was done in a manner that constituted the use of
6

7
     unreasonable force, and was done in a manner that constituted a deliberate

8    indifference to and reckless disregard of Michael David Russo’s life and to said
9
     Child – Parent Relationship, and constituted outrageous behavior that is shocking
10

11   to the conscience.
12
           89.    The unlawful killing of plaintiffs’ deceased, Michael David Russo,
13

14
     by SULLIVANT and DOES 1 through 6, inclusive, above-referenced, also caused

15   plaintiffs TAMRA RUSSO, BRIAN RUSSO and K.S. and A.S. to suffer the loss
16
     of their son and father Michael David Russo’s society, solace and comfort,
17

18   companionship, as well as caused them to suffer great mental, special damages,
19
     emotional and distress, pain and suffering in an amount to be shown at trial, in
20

21
     excess of $10,000,000.00.

22         90.    The unlawful killing of Michael David Russo by SULLIVANT and
23
     DOES 1 through 6, inclusive, above-referenced, was done maliciously and in
24

25

26

27
     6
28    As shown above, plaintiff TAMRA RUSSO is Guardian Ad Litem for the minor plaintiffs
     K.S. and A.S., successors in interest, to plaintiffs’ decedent Michael David Russo.
                          FIRST AMENDED COMPLAINT FOR DAMAGES
                                           25
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 26 of 39 Page ID #:343



1    reckless disregard of plaintiffs’ constitutional rights, sufficient for an award of
2
     punitive damages against said defendants (save COUNTY); all in an amount to be
3

4    shown at trial, in excess of $10,000,000.00.
5
                            SIXTH CAUSE OF ACTION
6     DEPRIVATION OF LIFE WITHOUT DUE PROCESS OF LAW UNDER
7
                           FOURTEENTH AMENDMENT
                                  [42 U.S.C. § 1983]
8                       (FEDERAL SURVIVALSHIP CLAIM
9                       VIA CAL. CIV. PROC. CODE § 377.30)
       (By plaintiffs TAMRA RUSSO, as guardian ad litem for Minor Plaintiffs
10
      K.S. and A.S., Successors In Interest to plaintiffs’ decedent Michael David
11                          Russo, Against All Defendants)
12
           91.    Plaintiffs hereby reallege and incorporate by reference the allegations
13

14
     set forth in paragraphs 1 through 90, inclusive, above, as if set forth in full herein.

15         92.    As shown above, Michael David Russo was unlawfully and
16
     unjustifiably shot to death, with malice, by defendant SULLIVANT and said DOE
17

18   defendants on February 1, 2017.
19
           93.    Plaintiffs’ decedent Michael David Russo’s unlawful killing was
20

21
     done without the due process of the laws, in a manner shocking to the conscience

22   and recklessly and outrageously, in violation of the Constitution of the United
23
     States of America and of the State of California.
24

25         94.    Said shooting of plaintiffs’ decedent Michael David Russo was done
26
     in a manner that was shocking to the conscience and was done outrageously and
27

28
     recklessly and deprived decedent Michael David Russo of his life, without due


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         26
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 27 of 39 Page ID #:344



1    process of the laws.
2
               95.    Moreover, said shooting caused decedent Michael David Russo to be
3

4    deprived of all of the meaning, pleasure and experiences that one incurs when
5
     living; damages in an amount to be proven and trial, in excess of $10,000,000.00.
6

7
               96.    Moreover, as actions and omissions of said defendants were done

8    with deliberate indifference to his physical safety and to his very life, and were
9
     done intentionally, maliciously recklessly, sadistically, oppressively,
10

11   outrageously, and with deliberate indifference and a reckless disregard of Michael
12
     David Russo’s constitutional rights, sufficient for an award of punitive damages
13

14
     against SULLIVANT and said DOE defendants (save COUNTY), in an amount to

15   be shown at trial in an amount in excess of $10,000,000.00.
16

17
                           SEVENTH CAUSE OF ACTION
18                                  Wrongful Death7
                                [Direct Liability Action]
19
     (By plaintiff TAMRA RUSSO as Guardian Ad Litem for minor children K.S.
20    and A.S., Successors In Interest to plaintiffs’ decedent Michael David Russo,
21
                                Against All Defendants)

22             97.    Plaintiffs hereby reallege and incorporate by reference the allegations
23
     set forth in paragraphs 1 through 96, inclusive, above, as if set forth in full herein.
24

25             98.    As shown above, plaintiff TAMRA RUSSO, as Guardian Ad Litem
26

27

28
     7
         Based on California state law; Cal. Civ. Proc. Code § 377.60 et seq.
                             FIRST AMENDED COMPLAINT FOR DAMAGES
                                              27
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 28 of 39 Page ID #:345



1    for minor plaintiffs K.S. and A.S., the Successors In Interest to plaintiffs’
2
     decedent Michael David Russo, are the heirs of the plaintiffs’ decedent, Michael
3

4    David Russo, and are entitled to inherit from David Michael Russo via Intestate
5
     Succession under California state law.
6

7
           99.    Also as shown above, said San Bernardino County Sheriff’s

8    Department deputy sheriffs (defendants SULLIVANT and DOES 1 through 10,
9
     inclusive) negligently, wrongfully, unlawfully and unjustifiably killed Michael
10

11   David Russo, or otherwise proximately caused his death.
12
           100. Therefore, said DOE defendants SULLIVANT and said DOE
13

14
     defendants and COUNTY are liable to said minor plaintiffs for the wrongful death

15   of Michael David Russo pursuant to Cal. Civ. Proc. Code § 377.30 and otherwise
16
     pursuant to Cal. Civ. Proc. Code §§ 815.2, 815.2(a), 815.6, 820 and 820.8.
17

18         101. As a direct and proximate result of said San Bernardino County
19
     Sheriff’s Department deputy sheriffs (defendants SULLIVANT and DOES 2
20

21
     through 10, inclusive) actions, above-referenced, plaintiff TAMRA RUSSO, as

22   Guardian Ad Litem for minor children K.S. and A.S., successors in interest to
23
     plaintiffs’ decedent Michael David Russo, lost the support, solace, society and
24

25   comfort of Michael David Russo, and plaintiffs also incurred burial / funeral
26
     costs/expenses, medical and psychological costs/bills and expenses, loss of
27

28
     financial support; all in an amount to be proven at trial; in excess of


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         28
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 29 of 39 Page ID #:346



1    $10,000,000.00 for each plaintiff.
2
            102.    The unlawful killing of Michael David Russo by defendant
3

4    SULLIVANT and DOES 1 through 6, inclusive, above-referenced, was done
5
     maliciously and in reckless disregard of plaintiffs’ constitutional rights, sufficient
6

7
     for an award of punitive damages against said defendants (save COUNTY); all in

8    an amount to be shown at trial, in excess of $10,000,000.00.
9
                             EIGHTH CAUSE OF ACTION
10
                            Violation of Cal. Civil Code § 52.1
11                             Under California State Law
         (By Plaintiffs TAMRA RUSSO, as Guardian Ad Litem for the minor
12
       children, plaintiffs K.S. and A.S., Successors In Interest to Michael David
13      Russo, and plaintiff SIRIKUL SAWASDIKUL, Against all Defendants)
14
            103. Plaintiffs hereby re-allege and incorporate by reference the
15

16   allegations set forth in paragraphs 1 through 90, inclusive, above, as if set forth in
17
     full herein.
18
            104. As shown above, defendants DOES 1 through 10, inclusive, used the
19

20   threat of force and actual use of force and violence, here deadly force, against
21
     plaintiff SAWASDIKUL and the plaintiffs’ decedent Michael David Russo, that
22

23   constituted a violation of said plaintiffs’ rights under the United States and
24
     California constitutions to be free from the use of unreasonable force upon their
25
     persons, especially deadly force.
26

27          105. Also as shown above, said defendants used unreasonable force and
28
     violence against plaintiff SAWASDIKUL and the plaintiffs’ decedent Michael
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         29
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 30 of 39 Page ID #:347



1    David Russo.
2
           106. Said actions by said defendants constitute the use of actual force and
3

4    violence, and the threatened use of force and violence against the plaintiff
5
     SAWASDIKUL and the plaintiffs’ decedent Michael David Russo for their
6

7
     exercise of their Fourth Amendment rights.

8          107. Moreover, as shown above, said defendant deputy sheriffs falsely
9
     arrested and falsely imprisoned plaintiff SAWASDIKUL and the plaintiffs’
10

11   decedent Michael David Russo, using actual force and violence against plaintiff
12
     SAWASDIKUL and the plaintiffs’ decedent Michael David Russo, as well as
13

14
     threats of same.

15         108. Said defendant deputy sheriffs, interfered with, and/or attempted to
16
     interfere with, by use of threats, intimidation, and coercion, the exercise or
17

18   enjoyment by plaintiff SAWASDIKUL and the plaintiffs’ decedent Michael
19
     David Russo of the rights secured by the Constitution and laws of the United
20

21
     States, and of the rights secured by the California Constitution and otherwise by

22   California law, in violation of California Civil Code §52.1.
23
           109. Said defendants SULLIVANT and DOES 2 through 10 and
24

25   COUNTY are liable to plaintiff SIRIKUL SAWASDIKUL and the minor children
26
     of plaintiffs’ decedent Michael David Russo, plaintiffs K.S. and A.S., for said
27

28
     violations of their constitutional rights, pursuant to California Civil Code § 52.1,


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         30
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 31 of 39 Page ID #:348



1    and California Government Code §§ 815.2(a), 815.6, 820, 820.8.
2
            110. As a direct and proximate result of the actions of said defendants,
3

4    plaintiff SAWASDIKUL and the plaintiffs’ decedent Michael David Russo were:
5
     1) was substantially physically, mentally and emotionally injured, and suffered
6

7
     great physical, mental and emotional injury, distress, pain and suffering; 2)

8    incurred medical and psychological costs, bills and expenses, 3) incurred
9
     attorney’s fees and associated litigation and other related costs, and 4) incurred the
10

11   loss of business wages and profits, 5) incurred other special and general damages
12
     and expenses, in an amount to be proven at trial, in excess of $10,000,000.00.
13

14
            111. The actions by said defendants were committed maliciously and

15   oppressively and constituted despicable conduct; sufficient for an award of
16
     punitive / exemplary damages against all defendants and each of them, save
17

18   defendant COUNTY, in an amount to be proven at trial in excess of
19
     $10,000,000.00.
20

21
            112. In addition, as a result of the actions of said defendants in violation of

22   the plaintiffs’ rights under Cal. Civil Code § 52.1, the plaintiffs are entitled to an
23
     award of treble compensatory damages against all defendants, and each of them in
24

25   this action.
26
                             NINTH CAUSE OF ACTION
27                         False Arrest / False Imprisonment
28
                              Under California State Law
          (By Plaintiffs TAMRA RUSSO, as Guardian Ad Litem for the minor
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         31
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 32 of 39 Page ID #:349



1      children, plaintiffs K.S. and A.S., Successors In Interest to Michael David
2       Russo and plaintiff SIRIKUL SAWASDIKUL, Against all Defendants)
3

4          113. Plaintiffs hereby reallege and incorporate by reference the allegations
5
     set forth in paragraphs 1 through 112, inclusive, above, as if set forth in full
6

7
     herein.

8          114. As complained of above, by plaintiff SAWASDIKUL and the
9
     plaintiffs’ decedent Michael David Russo, were unlawfully seized and arrested by
10

11   defendants SULLIVANT and DOES 1 through 10, inclusive, on February 1, 2017.
12
           115. As complained of above, said defendants SULLIVANT and DOES 2
13

14
     through 7, inclusive, had neither reasonable suspicion of criminality afoot about

15   plaintiffs SAWASDIKUL nor probable cause to believe that plaintiff
16
     SAWASDIKUL and the plaintiffs’ decedent Michael David Russo had committed
17

18   a crime.
19
           116. Defendants SULLIVANT and DOES 2 through 7, inclusive, and
20

21
     COUNTY and DOES 1 through 10, inclusive, are liable to plaintiffs for their false

22   arrests / false imprisonments pursuant to Cal. Gov’t Code §§ 815.2(a), 815.6, 820,
23
     820.4 and 820.8.
24

25         117. As a direct and proximate result of the actions of said defendants,
26
     plaintiffs SAWASDIKUL and the plaintiffs’ decedent Michael David Russo were:
27

28
     1) was substantially physically, mentally and emotionally injured, and suffered


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         32
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 33 of 39 Page ID #:350



1    great physical, mental and emotional injury, distress, pain and suffering; 2)
2
     incurred medical and psychological costs, bills and expenses, 3) incurred
3

4    attorney’s fees and associated litigation and other related costs, and 4) incurred the
5
     loss of business wages and profits, 5) incurred other special and general damages
6

7
     and expenses, in an amount to be proven at trial, in excess of $5,000,000.00.

8           118. The actions by said defendants were committed maliciously and
9
     oppressively and constituted despicable conduct; sufficient for an award of
10

11   punitive / exemplary damages against all defendants and each of them, save
12
     defendant COUNTY, in an amount to be proven at trial in excess of
13

14
     $10,000,000.00.

15                            TENTH CAUSE OF ACTION
16                                        Battery
                               Under California State Law
17
         (By Plaintiffs TAMRA RUSSO, as Guardian Ad Litem for the minor
18     children, plaintiffs K.S. and A.S., Successors In Interest to Michael David
        Russo, and plaintiff SIRIKUL SAWASDIKUL, Against all Defendants)
19

20          119. Plaintiff hereby realleges and incorporates by reference the
21
     allegations set forth in paragraphs 1 through 118, inclusive, above, as if set forth
22

23   in full herein.
24
            120. The actions committed by COUNTY and DOES 1 through 10,
25
     inclusive, above-described, constituted unjustified non-consensual use of unlawful
26

27   force and violence upon plaintiffs SIRIKUL SAWASDIKUL and the plaintiffs’
28
     decedent Michael David Russo, and constituted a battery of them by COUNTY
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         33
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 34 of 39 Page ID #:351



1    and DOES 1 through 10, inclusive, under California state law.
2
           121. Defendants SULLIVANT, COUNTY and DOES 1 through 10, and
3

4    each of them, are liable to plaintiffs SAWASDIKUL and the plaintiffs’ decedent
5
     Michael David Russo for said batteries of them, pursuant to Cal. Government
6

7
     Code §§ 815.2(a), 815.6, 820, 820.8 and otherwise pursuant to the common-law.

8          122. As a direct and proximate result of the actions of SULLIVANT,
9
     COUNTY and DOES 1 through 10, plaintiffs SIRIKUL SAWASDIKUL and the
10

11   plaintiffs’ decedent Michael David Russo were: 1) was substantially physically,
12
     mentally and emotionally injured, and suffered great physical, mental and
13

14
     emotional injury, distress, pain and suffering; 2) incurred medical and

15   psychological costs, bills and expenses, 3) incurred attorney’s fees and associated
16
     litigation and other related costs, and 4) incurred the loss of business wages and
17

18   profits, 5) incurred other special and general damages and expenses, in an amount
19
     to be proven at trial, in excess of $10,000,000.00.
20

21
           123. The actions by said defendants were committed maliciously and

22   oppressively and constituted despicable conduct; sufficient for an award of
23
     punitive / exemplary damages against all defendants and each of them, save
24

25   defendant COUNTY, in an amount to be proven at trial in excess of
26
     $10,000,000.00.
27

28
                            ELEVENTH CAUSE OF ACTION
                                     Assault
                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                        34
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 35 of 39 Page ID #:352



1                              Under California State Law
2           (By Plaintiff SIRIKUL SAWASDIKUL Against all Defendants)
           124. Plaintiffs hereby reallege and incorporate by reference the allegations
3

4    set forth in paragraphs 1 through 123, inclusive, above, as if set forth in full
5
     herein.
6

7
           125. The actions committed by defendants SULLIVANT, COUNTY and

8    DOES 1 through 10, inclusive, above-described, constituted an assault of
9
     plaintiffs SAWASDIKUL and the plaintiffs’ decedent Michael David Russo under
10

11   California state law, as said plaintiffs were unlawfully placed in reasonable fear of
12
     receiving an imminent violent injury by defendants COUNTY and DOES 1
13

14
     through 10, inclusive.

15         126. Defendants SULLIVANT, COUNTY and DOES 1 through 10,
16
     inclusive, and each of them, are liable to plaintiff SAWASDIKUL under
17

18   California state law for said assaults of plaintiffs, pursuant to Cal. Government
19
     Code §§ 815.2(a), 815.6, 820 and 820.8, pursuant to the California Constitution,
20

21
     and otherwise pursuant to the common law.

22         127. As a direct and proximate result of the actions of defendants
23
     SULLIVANT, COUNTY and DOES 1 through 10, plaintiff SAWASDIKUL and
24

25   the plaintiffs’ decedent Michael David Russo were: 1) was substantially
26
     physically, mentally and emotionally injured, and suffered great physical, mental
27

28
     and emotional injury, distress, pain and suffering; 2) incurred medical and


                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         35
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 36 of 39 Page ID #:353



1    psychological costs, bills and expenses, 3) incurred attorney’s fees and associated
2
     litigation and other related costs, and 4) incurred the loss of business wages and
3

4    profits, 5) incurred other special and general damages and expenses, in an amount
5
     to be proven at trial, in excess of $10,000,000.00.
6

7
            128. The actions by said defendants were committed maliciously and

8    oppressively and constituted despicable conduct; sufficient for an award of
9
     punitive / exemplary damages against all defendants and each of them, save
10

11   defendant COUNTY, in an amount to be proven at trial in excess of
12
     $10,000,000.00.
13

14
                            TWELFTH CAUSE OF ACTION
15                     Intentional Infliction Of Emotional Distress
16                             Under California State Law
             (By Plaintiff SIRIKUL SAWASDIKUL Against all Defendants)
17

18          129. Plaintiff SAWASDIKUL hereby realleges and incorporates by
19
     reference the allegations set forth in paragraphs 1 through 128, inclusive, above,
20

21
     as if set forth in full herein.

22          130. Defendants SULLIVANT, COUNTY and DOES 1 through 10,
23
     inclusive, and each of them, knew and/or should have known that plaintiff
24

25   SAWASDIKUL was susceptible to suffering severe emotional distress from the
26
     actions taken and committed against plaintiff as complained of above and herein.
27

28
            131. Moreover, the conduct of said defendants, for all of the incidents


                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                          36
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 37 of 39 Page ID #:354



1    complained of herein, were outrageous and not the type of conduct condoned in a
2
     civilized society.
3

4              132. As a direct and proximate result of the actions of defendants
5
     SULLIVANT, COUNTY and DOES 1 through 10, plaintiff SIRIKUL
6

7
     SAWASDIKUL was: 1) was substantially physically, mentally and emotionally

8    injured, and suffered great physical, mental and emotional injury, distress, pain
9
     and suffering; 2) incurred medical and psychological costs, bills and expenses; 3)
10

11   incurred attorney’s fees and associated litigation and other related costs; and 4)
12
     incurred other special and general damages and expenses, in an amount to be
13

14
     proven at trial, in excess of $10,000,000.00.

15             133. The actions by said defendants were committed maliciously and
16
     oppressively and constituted despicable conduct; sufficient for an award of
17

18   punitive / exemplary damages against all defendants and each of them, save
19
     defendant COUNTY, in an amount to be proven at trial in excess of
20

21
     $10,000,000.00.

22

23                           THIRTEENTH CAUSE OF ACTION
                                          Negligence8
24
            (By Plaintiffs TAMRA RUSSO, as Guardian Ad Litem for the minor
25        children, plaintiffs K.S. and A.S., Successors In Interest to Michael David
           Russo, and plaintiff SIRIKUL SAWASDIKUL, Against all Defendants)
26

27

28
     8
         Based on California state law.
                            FIRST AMENDED COMPLAINT FOR DAMAGES
                                             37
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 38 of 39 Page ID #:355



1

2          134. Plaintiffs hereby reallege and incorporate by reference the allegations
3
     set forth in paragraphs 1 through 134, inclusive, above, as if set forth in full
4
     herein.
5

6          135. Said San Bernardino County Sheriff’s Department deputy sheriffs
7
     (defendants SULLIVANT, DOES 1 through 10, inclusive) owed plaintiffs
8

9    SAWASDIKUL and plaintiffs’ decedent Michael David Russo a duty to use due
10
     care regarding the safety and well-being of their person.
11
            136. As shown above, said San Bernardino County Sheriff’s Department
12

13   deputy sheriffs (defendants SULLIVANT and defendants DOES 1 through 10,
14
     inclusive) breached their duty of care to plaintiffs SAWASDIKUL and plaintiffs’
15

16   decedent Michael David Russo when they unlawfully seized then and inflicted
17
     non-fatal injuries to SAWASDIKUL and fatal injuries to plaintiffs’ decedent
18
     Michael David Russo.
19

20         137. As a direct and proximate result of the actions of defendants
21
     COUNTY and DOES 1 through 10, inclusive, plaintiffs SAWASDIKUL and
22

23   plaintiffs’ decedent Michael David Russo were: 1) was substantially physically,
24
     mentally and emotionally injured, and suffered great physical, mental and
25
     emotional injury, distress, pain and suffering; 2) incurred medical and
26

27   psychological costs, bills and expenses; 3) incurred attorney’s fees and associated
28
     litigation and other related costs; and 4) incurred other special and general
                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                         38
 Case 5:17-cv-02429-PA-SP Document 53-1 Filed 05/16/18 Page 39 of 39 Page ID #:356



1    damages and expenses, in an amount to be proven at trial, in excess of
2
     $10,000,000.00.
3

4          WHEREFORE, plaintiffs pray for judgment as follows:
5
           a)    For a judgment against all defendants for compensatory damages in
6

7
     an amount in excess of $30,000,000.00;

8          b)    For a judgment against all defendants for punitive damages in an
9
     amount in excess of $10,000,000.00;
10

11         c)    For an award of reasonable attorney’s fees and costs;
12
           d)    For a trial by jury; and
13

14
           e)    For such other and further relief as this honorable court deems just

15   and equitable.
16

17
     Dated May 16, 2018                     ___/s/_ Jerry L. Steering_____________
18                                          JERRY L. STEERING, Attorney for
                                            plaintiffs TAMRA RUSSO, individually
19
                                            and as guardian ad litem for minor children
20                                          K.S. and A.S., successors in interest to
21
                                            Michael David Russo, SIRIKUL
                                            SAWASDIKUL and BRIAN RUSSO
22

23

24

25

26

27

28


                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                        39
